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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                               GREENBELT DIVSION


IN RE:

Kempes Jean and Lori Lee Jean,
                                                                    Case No. 20-10883
                                                                    Chapter 7

                      Debtor

______________________________________________________________________________
        OPPOSITION TO MOTION TO HOLD DEBTORS AND THEIR COUNSEL IN
     CONTEMPT FOR FAILURE TO OBEY COURT ORDER AND TO IMPOSE
 APPROPRIATE SANCTIONS TO COERCE COMPLIANCE WITH COURT ORDER


         NOW COMES, Kempes Jean and Lori Lee Jean (“Debtors”), by undersigned counsel,

and files this Opposition to Motion to Hold Debtors and their Counsel in Contempt for Failure

to Obey Court Order and to Imposition appropriate Sanctions, and for cause states:

         1.    This case was commenced by the filing of a voluntary petition under Chapter 7 of

the Bankruptcy Code on January 22, 2020.

         2.    Debtors filed their Bankruptcy in good faith, fully paying any and all filing fees,

and seeking formal representation of their Bankruptcy Petition.

         3.    On February 16, 2021, Trustee filed a Motion to Compel Debtors to Obey Court

Order Commanding Production of Documents and for Imposition of Sanctions.

         4.    The deadline to produce documents was on a weekend day, Friday February 5,

2021.

         5.    Though the documents were not produced by this date, Counsel informed Trustee

over that weekend that documents will be provided by February 9, 2021.

         6.    What the Trustee requested was significant, this caused more time than anticipated
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and was the reason why counsel needed more time to produce such documents.

       7.      Counsel, earnestly and in good faith, worked on Debtors’ case for weeks and that

weekend as well leading up to the deadline.

       8.      Though the documents were provided 4 days later, this delay was not purposeful,

and did not cause undue prejudice to the Trustee.

       9.      On or around March 5, 2021 the Court entered an Order granting Trustee’s

motion, reimbursement to the Trustee his reasonable attorney’s fees.

       10.     On or around April 16, 2021, Debtors filed a second Motion to reconsider the

Court’s Order for Attorney fees.

       11.     While and during Debtors’ motion was pending for Court review, Trustee filed

this instant motion for contempt.

       12.     At the time the Trustee filed the motion for contempt, it was clear that the Debtors

were attempting to vacate the Court’s Order and clearly the matter was still under review.

       13.     Currently, Debtors are submitting a settlement offer to the Chapter 7 Trustee to

“buy out” the non-exempt portion of the equity in their home and assets. The Debtors are

committed to this mammoth undertaking to ensure the stability, emotional well-being, and

livelihood of their family.

       14.     At this point in the proceedings, as a gesture of goodwill Debtors have agreed to

pay the Trustee’s legal fees and have included the payment of the fees in their settlement offer,

which will be submitted today.

       15.     The demand that these fees be paid immediately or Debtors and Counsel be

incarcerated is offensive, inhuman, and is indecent.

       16.     Such relief would not unduly prejudice the Trustee and his attorneys or cause

undue delay, would be in the interest of justice and fairness and is not the product of bad faith on


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behalf of the Debtors.

       WHEREFORE, Debtors respectfully requests that this Honorable Court enter an Order

DENYING Trustee’s Motion to Hold Debtors and their Counsel in Contempt for Failure to Obey

Court Order and to Imposition appropriate Sanctions.




                                           Respectfully Submitted,

                                           /s/Sari K. Kurland
                                           Sari Karson Kurland, Esq.
                                           The Kurland Law Group
                                           211 Jersey Lane
                                           Rockville, MD 20850
                                           Email: skurland2@comcast.net




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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of May 2021, I reviewed the Court’s CM/ECF system
and it reports that an electronic copy of the Motion to Reconsider Order will be served
electronically by the Court’s CM/ECF system on the following:

Trustee
Gary A. Rosen
One Church Street
Suite 800
Rockville, MD 20850
(301) 251-0202
Email: trusteerosen@gmail.com


U.S. Trustee
United States Trustee
6305 Ivy Lane, #600
Greenbelt, MD 20770




                                                   /s/Sari Karson Kurland
                                                  _____________________
                                                   Sari Karson Kurland, Esq.
                                                   Maryland Bar No. 09174




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